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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
MICROSOFT CORPORATION, a                     )
Washington corporation,                      )
                                             )
               Plaintiff,                    )
       v.                                    )   Civil Action No:
                                             )
                                             )   FILED UNDER SEAL PURSUANT TO
JOHN DOES 1-2, CONTROLLING A                 )   LOCAL RULE 5.1
COMPUTER NETWORK AND THEREBY                 )
INJURING PLAINTIFF AND ITS                   )
CUSTOMERS,                                   )
               Defendants.                   )
                                             )
                                             )
                                             )
                                             )

                                          COMPLAINT

       Plaintiff MICROSOFT CORP. (“Microsoft”) hereby complains and alleges that

JOHN DOES 1-2 (collectively “Defendants”), have established an Internet-based cyber-

theft operation referred to as “Phosphorus.” Through Phosphorus, Defendants are engaged

in breaking into the Microsoft accounts and computer networks of Microsoft’s customers

and stealing highly sensitive information. To manage and direct Phosphorus, Defendants

have established and operate a network of websites, domains, and computers on the Internet,

which they use to target their victims, infect their computing devices, compromise the

security of their networks, and steal sensitive information from them. Internet domains used

by Defendants to operate Phosphorus are set forth at Appendix A to this Complaint and are

referred to as the “Command and Control Domains.” Microsoft alleges as follows:

                                     NATURE OF ACTION

       1.      This is an action based upon: (1) The Computer Fraud and Abuse Act, 18



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U.S.C. § 1030; (2) Electronic Communications Privacy Act, 18 U.S.C. § 2701; (3)

Trademark Infringement under the Lanham Act, 15 U.S.C. § 1114 et seq. (4) False Designation

of Origin under the Lanham Act, 15 U.S.C. § 1125(a); (5) Trademark Dilution under the Lanham

Act, 15 U.S.C. § 1125(c); (6) the Anticybersquatting Consumer Protection Act, 15 U.S.C. §

1125(d), (7) common law trespass to chattels; (8) conversion; (9) intentional interference with

contractual relationships; (10) unfair competition; and (11) unjust enrichment. Microsoft seeks

injunctive and other equitable relief and damages against Defendants who operate and control a

network of computers known as the Phosphorus Command and Control Domains. Defendants,

through their illegal activities involving Phosphorus, have caused and continue to cause

irreparable injury to Microsoft, its customers and licensees, and the public.

                                            PARTIES

       2.      Plaintiff Microsoft is a corporation duly organized and existing under the laws of

the State of Washington, having its headquarters and principal place of business in Redmond,

Washington.

       3.      John Doe 1 controls Phosphorus and the Phosphorus Command and Control

Domains in furtherance of conduct designed to cause harm to Microsoft, its customers and

licensees, and the public. Microsoft is informed and believes and thereupon alleges that John

Doe 1 can likely be contacted directly or through third-parties using the information set forth in

Appendix A.

       4.      John Doe 2 controls Phosphorus and the Phosphorus Command and Control

Domains in furtherance of conduct designed to cause harm to Microsoft, its customers and

licensees, and the public. Microsoft is informed and believes and thereupon alleges that John

Doe 2 can likely be contacted directly or through third-parties using the information set forth in

Appendix A.

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       5.      Third parties VeriSign, Inc., VeriSign Information Services, Inc., and VeriSign

Global Registry Services (collectively, “VeriSign”) are the domain name registries that oversee

the registration of all domain names ending in “.com,” “.net” and “.name,” and are located at

12061 Bluemont Way, Reston, Virginia 20190.

       6.      Third party Public Interest Registry is the domain name registry that oversees the

registration of all domain names ending in “.org,” and is located at 1775 Wiehle Avenue,

Suite 100, Reston, Virginia 20190.

       7.      Third party .Club Domains, LLC is the domain name registry that oversees

the registration of all domain names ending in “.club,” and is located at 100 SE 3rd Ave.

Suite 1310, Fort Lauderdale, Florida 33394.

       8.      Third party Afilias Limited c/o Afilias USA, Inc. is the domain name registry

that oversees the registration of all domain names ending in “.info” and “.mobi,” and is

located at 300 Welsh Road, Building 3, Suite 105, Horsham, Pennsylvania 19044.

       9.      Third parties Binky Moon, LLC and Donuts Inc. (collectively “Donuts”) are the

domain name registries that oversee the registration of all domain names ending in “.network,”

and “.world,” and are located at 5808 Lake Washington Blvd NE, Suite 300, Kirkland,

Washington 98033.

       10.     Third party Registry Services Corporation d/b/a RegistryPro is the domain name

registry that oversees the registration of all domain names ending in “.pro,” and is located at 425

West Randolph, 8th Floor, Chicago, Illinois 60606.

       11.     Third parties Neustar, Inc. and Aruba PEC S.p.A are the domain name registry

backend provider and domain name registry that oversee the registration of all domains ending in

“.cloud.” Neustar, Inc. is located at 21575 Ridgetop Circle, Sterling, Virginia 20166 and Aruba

PEC S.p.A. is located at Via Sergio Ramelli 8, 52100 Arezzo (AR), Italy.

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       12.     Third parties Neustar, Inc., dot Bid Limited and Global Registry Services Limited

are the domain name registry backend provider and domain name registry that oversee the

registration of all domains ending in “.bid.” Neustar, Inc. is located at 21575 Ridgetop Circle,

Sterling, Virginia 20166. dot Bid Limited is located at 2nd Floor, Leisure Island Business

Centre, Ocean Village, GX111AA, Gibraltar. Global Registry Services Limited is located at 327

Main Street, Gibraltar GX111AA.

       13.     Set forth in Appendix A are the identities of and contact information for third

party domain registries that control the domains used by the Defendants.

       14.     On information and belief, John Does 1-2 jointly own, rent, lease, or

otherwise have dominion over the Phosphorus Command and Control Domains and related

infrastructure and through those control and operate Phosphorus. Microsoft will amend this

complaint to allege the Doe Defendants’ true names and capacities when ascertained.

Microsoft will exercise due diligence to determine Doe Defendants’ true names, capacities,

and contact information, and to effect service upon those Doe Defendants.

       15.     Microsoft is informed and believes and thereupon alleges that each of the

fictitiously named Doe Defendants is responsible in some manner for the occurrences herein

alleged, and that Microsoft’s injuries as herein alleged were proximately caused by such

Defendants.

       16.     On information and belief, the actions and omissions alleged herein to have

been undertaken by John Does 1-2 were actions that Defendants, and each of them,

authorized, controlled, directed, or had the ability to authorize, control or direct, and/or were

actions and omissions that each Defendant assisted, participated in, or otherwise encouraged,

and are actions for which each Defendant is liable. Each Defendant aided and abetted the

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actions of the other Defendant, as set forth below, in that each Defendant had knowledge of

those actions and omissions, provided assistance and benefited from those actions and

omissions, in whole or in part. Each Defendant was the agent of each of the other

Defendants, and in doing the things hereinafter alleged, was acting within the course and

scope of such agency and with the permission and consent of other Defendant.

                               JURISDICTION AND VENUE

       17.     The Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because this action arises out of Defendants’ violation of The Computer

Fraud and Abuse Act (18 U.S.C. § 1030), Electronic Communications Privacy Act (18

U.S.C. § 2701), Lanham Act (15 U.S.C. §§ 1114, 1125), and the Anticybersquatting

Consumer Protection Act (15 U.S.C. § 1125(d)). The Court also has subject matter

jurisdiction over Microsoft’s claims for trespass to chattels, intentional interference with

contractual relationships, unjust enrichment, unfair competition, and conversion pursuant to

28 U.S.C. § 1367.

       18.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events or omissions giving rise to Microsoft’s claims has

occurred in this judicial district, because a substantial part of the property that is the subject

of Microsoft’s claims is situated in this judicial district, and because a substantial part of the

harm caused by Defendants has occurred in this judicial district. Defendants have

conducted business in the District of Columbia and have utilized instrumentalities located in

the District of Columbia to carry out the acts of which Microsoft complains.

       19.     Defendants have affirmatively directed actions at the District of Columbia by

directing deceptive electronic messages to users of Microsoft services located in the District

of Columbia, by directing malicious computer code and instructions to Microsoft’s

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Windows operating system, the computing devices and high-value computer networks of

individual users and entities located in the District of Columbia, in order to compromise the

security of those systems and to steal sensitive information from those networks, all to the

grievous harm and injury of Microsoft, its customers and licensees, and the public.

       20.     Venue is proper in this judicial district under 28 U.S.C. § 1391(c) because

Defendants are subject to personal jurisdiction in this judicial district.

                                 FACTUAL BACKGROUND

                            Microsoft’s Services and Reputation

       21.     Microsoft® is a provider of the Windows® operating system and a variety of

other software and services including Outlook®, Windows Live®, Hotmail®, OneDrive® and

Office 365® trademarks. Microsoft has invested substantial resources in developing high-

quality products and services. Due to the high quality and effectiveness of Microsoft’s

products and services and the expenditure of significant resources by Microsoft to market

those products and services, Microsoft has generated substantial goodwill with its

customers, establishing a strong brand and developing the Microsoft name and the names of

its products and services into strong and famous world-wide symbols that are well-

recognized within its channels of trade. Microsoft has registered trademarks representing

the quality of its products and services and its brand, including Microsoft, Windows,

Outlook, Windows Live, Hotmail, OneDrive and Office 365. Copies of the trademark

registrations for the Microsoft, Outlook, Windows Live, Hotmail, OneDrive and Office 365

trademarks are attached as Appendix B to this Complaint.

                                          Phosphorus

       22.     Phosphorus specializes in targeting, hacking into, and stealing sensitive

information from high-value computer networks connected to the Internet. Phosphorus

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targets Microsoft customers in both the private and public sectors, including political

dissidents, activist leaders, the Defense Industrial Base (DIB), journalists, and employees

from multiple government agencies, including individuals protesting oppressive regimes in

the Middle East. Others in the security community who have researched this group of actors

refer to the group by other names, including “APT 35,” “Charming Kitten,” and “Ajax Security

Team.” The defendants have been linked to an Iranian hacking group or groups.

        23.        Phosphorus hacks into a targeted computer network; installs software giving it

long-term and surreptitious access to that network; monitors the victim’s activity and

conducts reconnaissance of the network; and ultimately locates and exfiltrates sensitive

documents off of the network, including plans, memoranda, e-mails, voice mails, and other

sensitive information. Phosphorus has been active since 2013, and it poses a threat today and

into the future.

        24.        Phosphorus’ modus operandi demonstrates skill, patience, and access to

resources. Phosphorus typically attempts to compromise the personal (not work) accounts of the

targeted individuals through a technique known as “spear phishing.” Spear phishing attacks are

conducted in the following fashion: After researching a victim organization, the spear phisher

will identify individuals associated with that organization through gathering publicly available

information and by social engineering. The spear phisher will then initiate communications with

the victim by using names, companies, and/or contents that are familiar to the victim. The

ensuing communications exchanges are used to social engineer information, identify additional

targets, entice a target into opening up a malicious attachment, and more. Phosphorus has

created fake social networking profiles to carry out such an attack.

        25.        Another technique utilized by Phosphorus is to send a targeted individual an email

specifically crafted to appear as if there is an issue with the targeted individual’s account.

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Phishing emails often use generic domain names that appear to be tied to account activity and

that require input of credentials for authentication. Phosphorus sends the targeted individual an

email specifically crafted to appear as if there is an issue with the targeted individual’s account.

Phosphorus has used the domains listed in Appendix A to this Complaint in its command and

control infrastructure. The Phosphorus defendants sometimes also disguise their command and

control domains by incorporating the names and trademarks of well-known companies and

organizations, including Microsoft’s “Microsoft” and Windows “Live” brands, as well as the

“LinkedIn” brand.

       26.     Phosphorus’ use of Microsoft trademarks is meant to confuse victims into

clicking on links controlled by the Phosphorus defendants. When the user clicks on the links,

they are taken to deceptive web pages that induce the victim to type in their Microsoft

credentials, at which point the Phosphorus defendants obtain access to those credentials. This

will result in Phosphorus being able to log into the victim’s account and access their email.

Phosphorus can also download a copy of the victim’s address book to be used for future targeting

of additional intended victims. Not having safe emails impacts Microsoft’s brands and services.

Customers expect Microsoft to provide safe and trustworthy products and services. There is a

great risk that Microsoft’s customers, both individuals and the enterprises for which they work,

may incorrectly attribute these problems to Microsoft’s products and services, thereby diluting

and tarnishing the value of these trademarks and brands.

       27.     Phosphorus sends these emails from a variety of online email services. As

discussed above, there are multiple Phosphorus created domains mimicking Microsoft brands,

and those domains are clearly designed to be included in spear phishing emails as links to

websites that Phosphorus has set up in advance and which they control. When a victim clicks on

the link in the email, his or her computer is connected with the Phosphorus-controlled website.

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The victim is then presented a copy of a webpage that appears to be a login page for a webmail

provider of which the victim is a subscriber. In fact, this is a fake login page that is designed to

induce the user to type in their webmail credentials. If the victim enters the correct credentials,

at that point Phosphorus obtains the user’s credentials and can thereafter access the users’

webmail account to steal email content and other information.

       28.     Figures 1 and 2 show copies of webpages created by Phosphorus designed to

mimic legitimate Microsoft Outlook login pages:




                                        Figure 1




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                                           Figure 2

       29.     Upon successful compromise of a victim account, Phosphorus will not only be

able to log into the account and review the victims’ emails, but may also delete the spear

phishing email that they previously sent to the user in an attempt to obfuscate their activities.

       30.     Phosphorus has targeted victims who are using Microsoft email services and has

intruded into those accounts to steal information of Microsoft’s users. Figures 1 and 2 above

demonstrate that Phosphorus is targeting users of Microsoft’s Outlook email services.

       31.     Phosphorus also uses an online control panel, at the domain confirm-session-

identification.info, to create links sent to intended victims as well as to track successfully

compromised victims who clicked on those links, typed in their credentials and had those

credentials stolen by the defendants. The control panel enables Phosphorus to monitor and

control their access to victim accounts. Phosphorus uses a unique ID (URL) for each targeted



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user. A redacted list of the users targeted can be seen in the email column in Figure 3 below




                                         Figure 3
       32.    Phosphorus’ email panel has a “Monitor” screen for tracking compromised users,

as seen in the screenshot below (Figure 4):




                                              Figure 4

       33.    Phosphorus’ email panel has a settings tab (Figure 5) which shows that when

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users’ credentials are compromised, the credentials stolen from Microsoft users and others are

emailed to a particular email address.




                                            Figure 5

       34.     Phosphorus also intrudes upon and causes injury to Microsoft and Microsoft’s

customers by damaging the customers’ computers and the software installed on their computers.

In particular, the Phosphorus defendants have sent deceptive email messages to victims, which

include links to websites from which the defendants install malicious software onto the victims’

computers.

       35.     The defendants refer to the malicious software as “Stealer.” Stealer, once

installed, can record what the victim types on their keyboard, take screenshots of what is on the

victim’s computer screen, steal login credentials for instant messaging account (including



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information about victims’ Microsoft-owned “Skype” messaging accounts), email accounts, and

other credentials. The Stealer software is installed from, and stolen information may be

transferred to, defendants using command and control domains such as those reflected in

Appendix A.

       36.     The installation of this malicious software damages the victim’s computer and the

Windows operating system on the victim’s computer. During the infection of a victim’s

computer, the malicious Stealer software makes changes at the deepest and most sensitive levels

of the computer’s Windows operating system. The consequences of these changes are that the

user’s version of Windows is adulterated, and unknown to the user, has been converted into a

tool to steal credentials and sensitive information from the user. This inherently involves abuse

of Microsoft’s trademarks and brands, and deceives users by presenting an unauthorized,

modified version of Windows to those users. For example, the defendants create registry key

paths bearing the Microsoft “Windows” trademark, within the Microsoft operating system,

including, among others: “C:\WINDOWS\system32\rundll32.exe” and “C:\ Documents and

Settings\{USER}\ApplicationData\IntelRapidStart\AppTransferWiz.dll”,#110

       37.     As seen in Figure 6 below, Phosphorus includes metadata within the Stealer

malicious software that expressly misrepresents that the software is created by “Microsoft” and

that the software is a “Process for Windows.




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                                       Figure 6

                   Harm To Microsoft And Microsoft Customers

      38.    Phosphorus irreparably harms Microsoft by damaging its reputation,

brands, and customer goodwill. Microsoft has invested considerable resources in

developing high-quality products and services and has thereby cultivated significant



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customer goodwill and globally-recognized trademarks. Trademark registrations for marks

infringed by the Phosphorus defendants are attached as Appendix B.

       39.     Phosphorus’ theft of sensitive data and personal information damages Microsoft’s

customers. The malicious “Stealer” software damages a customer’s computer by altering the

normal and approved settings and functions of the victim’s operating system, destabilizing it, and

enabling unauthorized monitoring of the user and theft of their data.

       40.     The “Stealer” software effectively morphs the trusted, Microsoft-trademarked

Windows operating system into a tool of deception and theft. This misleads Microsoft customers

and causes extreme damage to Microsoft’s reputation, brands, and trademarks.

       41.     Microsoft and other members of the public must invest considerable time and

resources investigating and remediating defendants’ illicit intrusions. Customers typically lack

the technological skill and resources required to clean an infected end-user computer.

       42.     The most vulnerable point in Phosphorus’ operations are a number of Internet

domains through which Phosphorus obtains victim credentials, logs into compromised accounts,

and reviews sensitive information from victim accounts. Granting Microsoft possession of these

domains will cut off the means by which the Phosphorus defendants collect victim credentials.

                                 FIRST CLAIM FOR RELIEF

             Violation of the Computer Fraud & Abuse Act, 18 U.S.C. § 1030

       43.     Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 42 above.

       44.     Defendants knowingly and intentionally accessed and continue to access

protected computers without authorization and knowingly caused the transmission of

information, code and commands, resulting in damage to the protected computers, the software

residing thereon, and Microsoft.

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         45.   Defendants’ conduct involved interstate and/or foreign communications.

         46.   Defendants’ conduct has caused a loss to Microsoft during a one-year period

aggregating at least $5,000.

         47.   Microsoft seeks injunctive relief and compensatory and punitive damages under

18 U.S.C. § 1030(g) in an amount to be proven at trial.

         48.   As a direct result of Defendants’ actions, Microsoft has suffered and continues to

suffer irreparable harm for which there is no adequate remedy at law, and which will continue

unless Defendants’ actions are enjoined.

                               SECOND CLAIM FOR RELIEF

          Violation of Electronic Communications Privacy Act, 18 U.S.C. § 2701

         49.   Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 48 above.

         50.   Microsoft’s Windows operating system, Microsoft’s customers’ computers

running such software, and Microsoft’s Outlook, Windows Live, Hotmail, OneDrive and

Office 365 services are facilities through which electronic communication service is

provided to Microsoft’s users and customers.

         51.   Defendants knowingly and intentionally accessed the Windows operating

system, Microsoft’s customers’ computers running such software, and Microsoft’s services,

including one or more of Outlook, Windows Live, Hotmail, OneDrive and Office 365 services

without authorization or in excess of any authorization granted by Microsoft or any other

party.

         52.   Through this unauthorized access, Defendants intercepted, had access to,

obtained and altered authorized access to, wire electronic communications transmitted via

Microsoft’s Windows operating system, computers running such software, and Microsoft’s

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Outlook, Windows Live, Hotmail, OneDrive and Office 365 services.

       53.    Microsoft seeks injunctive relief and compensatory and punitive damages in

an amount to be proven at trial.

       54.    As a direct result of Defendants’ actions, Microsoft has suffered and

continues to suffer irreparable harm for which no adequate remedy at law exists, and which

will continue unless Defendants’ actions are enjoined.

                               THIRD CLAIM FOR RELIEF

     Trademark Infringement under the Lanham Act–15 U.S.C. § 1114 et seq.

       55.    Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 54 above.

       56.    Defendants have used Microsoft’s trademarks in interstate commerce,

including Microsoft’s federally registered trademarks for the word marks Microsoft,

Windows, Outlook, Windows Live, Hotmail, OneDrive and Office 365. By doing so,

Defendants are likely to cause confusion, mistake, or deception as to the origin, sponsorship,

or approval of the fake and unauthorized versions of the Windows operating system and the

Outlook, Windows Live, Hotmail, OneDrive and Office 365 services.

       57.    As a result of their wrongful conduct, Defendants are liable to Microsoft for

violation of the Lanham Act.

       58.    Microsoft seeks injunctive relief and compensatory and punitive damages in

an amount to be proven at trial.

       59.    As a direct result of Defendants’ actions, Microsoft has suffered and

continues to suffer irreparable harm for which it has no adequate remedy at law, and which

will continue unless Defendants’ actions are enjoined.

       60.    Defendants’ wrongful and unauthorized use of Microsoft’s trademarks to

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promote, market, or sell products and services constitutes trademark infringement pursuant

to 15 U.S.C. § 1114 et seq.

                              FOURTH CLAIM FOR RELIEF

        False Designation of Origin under the Lanham Act–15 U.S.C. § 1125(a)

       61.    Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 60 above.

       62.    Microsoft’s trademarks are distinctive marks that are associated with

Microsoft and exclusively identify its businesses, products, and services.

       63.    Defendants make unauthorized use of Microsoft’s trademarks. By doing so,

Defendants create false designations of origin as to tainted Microsoft products that are likely

to cause confusion, mistake, or deception.

       64.    As a result of their wrongful conduct, Defendants are liable to Microsoft for

violation of the Lanham Act, 15 U.S.C. § 1125(a).

       65.    Microsoft seeks injunctive relief and compensatory and punitive damages in

an amount to be proven at trial.

       66.    As a direct result of Defendants’ actions, Microsoft has suffered and

continues to suffer irreparable harm for which they have no adequate remedy at law, and

which will continue unless Defendants’ actions are enjoined.

                               FIFTH CLAIM FOR RELIEF

             Trademark Dilution under the Lanham Act–15 U.S.C. § 1125(c)

       67.    Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 66 above.

       68.    Microsoft’s trademarks are famous marks that are associated with Microsoft

and exclusively identify its businesses, products, and services.

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       69.    Defendants make unauthorized use of Microsoft’s trademarks. By doing so,

Defendants are likely to cause dilution by tarnishment of Microsoft’s trademarks.

       70.    Microsoft seeks injunctive relief and compensatory and punitive damages in

an amount to be proven at trial.

       71.    As a direct result of Defendants’ actions, Microsoft has suffered and

continues to suffer irreparable harm for which they have no adequate remedy at law, and

which will continue unless Defendants’ actions are enjoined.

                               SIXTH CLAIM FOR RELIEF

 Cybersquatting under the Anti-Cybersquatting Consumer Protection Act–15 U.S.C.

                                           §1125(d)

       72.    Microsoft re-alleges and incorporates by reference each and every allegation

set forth in paragraphs 1 through 71 above.

       73.    Microsoft’s trademarks were distinctive at the time Defendants registered the

command and control domains and remain distinctive today.

       74.    Microsoft’s trademarks were famous at the time Defendants registered the

command and control domains and remain famous today.

       75.    The command and control domains are confusingly similar to or dilutive of

Microsoft’s trademarks.

       76.    Defendants have registered, trafficked in, and/or used the command and control

domains with bad faith with intent to profit from Microsoft’s trademarks.

       77.    As a result of their wrongful conduct, Defendants are liable to Microsoft for

violation of the Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d).

                            SEVENTH CLAIM FOR RELIEF

                           Common Law Trespass to Chattels


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       78.      Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 77 above.

       79.      Defendants have used a computer and/or computer network, without authority,

with the intent to cause physical injury to the property of another.

       80.      Defendants have, without authority, used a computer and/or computer network,

without authority, with the intent to trespass on the computers and computer networks of

Microsoft and its customers.

       81.      Defendants’ actions in operating Phosphorus result in unauthorized access to

Microsoft’s Windows operating system and its Outlook, Windows Live, Hotmail, OneDrive and

Office 365 services, and the computers on which such programs and services run, and result in

unauthorized intrusion into those computers.

       82.      Defendants intentionally caused this conduct and this conduct was unlawful and

unauthorized.

       83.      Defendants’ actions have caused injury to Microsoft and have interfered with the

possessory interests of Microsoft over its software.

       84.      Microsoft seeks injunctive relief and compensatory and punitive damages in an

amount to be proven at trial.

       85.      As a direct result of Defendants’ actions, Microsoft has suffered and continues to

suffer irreparable harm for which no adequate remedy at law exists, and which will continue

unless Defendants’ actions are enjoined.

                                EIGHTH CLAIM FOR RELIEF

                                           Conversion

       86.      Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 85 above.

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       87.     Microsoft owns all right, title, and interest in its Windows, Outlook, Windows

Live, Hotmail, OneDrive and Office 365 software and services. Microsoft licenses its software

and services to end-users. Defendants have interfered with, unlawfully and without

authorization, and dispossessed Microsoft of control over its Windows, Outlook, Windows Live,

Hotmail, OneDrive and Office 365 software and services.

       88.     Defendants have, without authority, used a computer and/or computer network,

without authority, with the intent to remove, halt, or otherwise disable computer data, computer

programs, and/or computer software from a computer or computer network.

       89.     Defendants have, without authority, used a computer and/or computer network,

without authority, with the intent to exfiltrate documents or cause a computer to malfunction.

       90.     Microsoft seeks injunctive relief and compensatory and punitive damages in an

amount to be proven at trial.

       91.     As a direct result of Defendants’ actions, Microsoft suffered and continues to

suffer irreparable harm for which no adequate remedy at law exists, and which will continue

unless Defendants’ actions are enjoined.

                                NINTH CLAIM FOR RELIEF

                 Intentional Interference with Contractual Relationships

       92.     Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 91 above.

       93.     Microsoft has valid and subsisting contractual relationships with licensees of its

Windows, Outlook, Windows Live, Hotmail, OneDrive and Office 365 software and services.

Microsoft’s contracts confer economic benefit on Microsoft.

       94.     Defendants’ conduct interferes with Microsoft’s contractual relationships by

impairing, and in some instances destroying, the products and services Microsoft provides to its

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customers. On information and belief, Defendants know that their conduct is likely to interfere

with Microsoft’s contracts and to deprive Microsoft of the attendant economic benefits.

       95.    On information and belief, Microsoft has lost or is likely to lose licensees due to

Defendants’ conduct.

       96.    Defendants’ conduct has caused Microsoft economic harm. Microsoft seeks

injunctive relief and compensatory and punitive damages in an amount to be proven at trial.

       97.    As a direct result of Defendants’ actions, Microsoft has suffered and continues to

suffer irreparable harm for which no adequate remedy at law exists, and which will continue

unless Defendants’ actions are enjoined.

                              TENTH CLAIM FOR RELIEF

                                     Unfair Competition

       98.    Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 97 above.

       99.    The acts of Defendants complained of herein constitute unfair competition at

the expense of Microsoft in violation of the common law. Defendants used, without

authorization or license, Microsoft’s trademarks in a deceptive manner likely to mislead

customers into falsely believing Defendants’ conduct was that of Microsoft.

       100.   Defendants’ actions have irreparably injured Microsoft by tarnishing its

reputation with its customers. Microsoft has cultivated good-will with customers at great

expense over many years.

                            ELEVENTH CLAIM FOR RELIEF

                                     Unjust Enrichment

       101.   Microsoft incorporates by reference each and every allegation set forth in

paragraphs 1 through 100 above.

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       102.     The acts of Defendants complained of herein constitute unjust enrichment of the

Defendants at the expense of Microsoft in violation of the common law. Defendants used,

without authorization or license, software belonging to Microsoft to facilitate unlawful conduct

inuring to the benefit of Defendants. In this manner, Microsoft conferred a benefit on the

Defendants.

       103.     Defendants retained the benefit of and profited unjustly from their unauthorized

and unlicensed use of Microsoft’s intellectual property.

       104.     Upon information and belief, Defendants had an appreciation and knowledge of

the benefit they derived from their unauthorized and unlicensed use of Microsoft’s intellectual

property.

       105.     Retention by the Defendants of the benefit and profits they derived from their

malfeasance would be inequitable and unjust.

       106.     Microsoft seeks injunctive relief and compensatory and punitive damages in an

amount to be proven at trial.

       107.     As a direct result of Defendants’ actions, Microsoft suffered and continues to

suffer irreparable harm for which no adequate remedy at law exists, and which will continue

unless Defendants’ actions are enjoined.

                                        PRAYER FOR RELIEF

       WHEREFORE, Microsoft prays that the Court:

       1.       Enter judgment in favor of Microsoft and against the Defendants.

       2.       Declare that Defendants’ conduct has been willful and that Defendants have acted

with fraud, malice, and oppression.

       3.       Enter a preliminary and permanent injunction enjoining Defendants and their

officers, directors, principals, agents, servants, employees, successors, and assigns, and all

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persons and entities in active concert or participation with them, from engaging in any of the

activity complained of herein or from causing any of the injury complained of herein and from

assisting, aiding or abetting any other person or business entity in engaging in or performing any

of the activity complained of herein or from causing any of the injury complained of herein.

            4.   Enter a preliminary and permanent injunction giving Microsoft control over the

domains used by Defendants to cause injury and enjoining Defendants from using such

instrumentalities.

            5.   Enter judgment awarding Microsoft actual damages from Defendants adequate to

compensate Microsoft for Defendants’ activity complained of herein and for any injury

complained of herein, including but not limited to interest and costs, in an amount to be proven

at trial.

            6.   Enter judgment disgorging Defendants’ profits.

            7.   Enter judgment awarding enhanced, exemplary and special damages, in an

amount to be proven at trial.

            8.   Enter judgment awarding attorneys’ fees and costs, and order such other relief

that the Court deems just and reasonable.




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Dated: March 14, 2019    Respectfully submitted,


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